
378 U.S. 572 (1964)
HARRIS
v.
TEXAS.
No. 963, Misc.
Supreme Court of United States.
Decided June 22, 1964.
ON PETITION FOR WRIT OF CERTIORARI TO THE COURT OF CRIMINAL APPEALS OF TEXAS.
Marian S. Rosen for petitioner.
Carl E. F. Dally for respondent.
PER CURIAM.
The motion for leave to proceed in forma pauperis and the petition for a writ of certiorari are granted. The judgment of the Court of Criminal Appeals of Texas is vacated and the case is remanded for further proceedings not inconsistent with the opinion of this Court in Jackson v. Denno, ante, p. 368.
MR. JUSTICE BLACK, MR. JUSTICE CLARK, MR. JUSTICE HARLAN and MR. JUSTICE STEWART dissent for the reasons stated in their dissenting opinions in Jackson v. Denno, supra.
